        Case 1:23-cr-00161-RP         Document 32        Filed 01/27/25       Page 1 of 1
                                                                                    FILED
                                                                               January 27, 2025
                                                                             CLERK, U.S. DISTRICT COURT
                           UNITED STATES DISTRICT COURT                      WESTERN DISTRICT OF TEXAS
                            WESTERN DISTRICT OF TEXAS
                                                                                     Julie Golden
                                                                          BY: ________________________________
                                  AUSTIN DIVISION                                                 DEPUTY



UNITED STATES OF AMERICA                                  A-23-cr-161 RP
            Plaintiff
                                                   INFORMATION
v
                                                   [Ct. 1: 18 U.S.C. ' 922(m) B Knowing Failure
ISSA ABDELRAHMAN
            Defendant                              to Keep and Maintain Required Records]




THE UNITED STATES ATTORNEY CHARGES:

                                      COUNT ONE
                 Knowing Failure to Keep and Maintain Required Records
                                   [18 U.S.C. § 922(m)]

       On or about May 17, 2023, in the Western District of Texas, Defendant

                                   ISSA ABDELRAHMAN,

being an agent of a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United

States Code, knowingly failed to make an appropriate entry in and failed to maintain records the

defendant was required to keep pursuant to Section 923 of Title 18, United States Code; in

violation of Title 18, United States Code, Sections 922(m) and 924(a)(3)(B).


      JAIME ESPARZA
      UNITED STATES ATTORNEY


By:        /s/ Matt Harding
      MATT HARDING
      ASSISTANT UNITED STATES ATTORNEY




Information – ABDELRAHMAN                                                                 Page 1 of 1
